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UNITED STATES DISTRICT COURT
-MIDDLE DISTRICT OF FLORIDA

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ORLANDO DIVISION
UNITED STATES OF AMERICA
V. Case No. 6:24-cr- (4 —SSS5 EK
JEREMY CHARLES DeWITTE 26 U.S.C. § 7206(1)
INDICTMENT
The Grand Jury charges:
General Allegations

At times material to this Indictment:

1. Defendant JEREMY CHARLES DeWITTE resided in and around
Orlando, Florida, within the Middle District of Florida.

2. The Internal Revenue Service (“IRS”) was an agency of the United
States Department of Treasury responsible for administering the federal tax laws of
the United States and collecting taxes owed to the United States.

3. An IRS Form 1040, U.S. Individual Income Tax Return, was the form
filed by an individual to report, among other things, income, gains, losses,
deductions, and credits.

4. Between at least January 2016 and December 2018, DeWITTE was the
sole owner of Metro State Special Services (“Metro State”), a funeral-procession
escort business that operated in the Middle District of Florida. In operating this

business, DeWITTE contracted with clients, who were typically funeral homes and
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mortuaries, to furnish vehicle escorts, typically between a funeral location and a
burial location. DeWITTE himself, along with others he hired, provided the hired
vehicle escorts. Clients paid for the services by providing payment to DeWITTE or
to Metro State.

5. For years 2016, 2017, and 2018, DeWITTE filed Forms 1040 with the
IRS that purported to report, among other things, Metro State’s gross receipts. But,
in fact, the gross receipts that DeWITTE reported were materially less than Metro
State’s actual gross receipts in each of those years. As a result, DeWITTE caused his
2016, 2017, and 2018 Forms 1040 to be false because he materially underreported the
gross receipts and, hence, the income earned from his business.

COUNTS ONE AND TWO

6. The Grand Jury realleges and incorporates by reference the allegations
contained in Paragraphs 1 through 5. .

7. On or about the dates set forth in the table below, in the Middle District
of Florida and elsewhere, the defendant,

JEREMY CHARLES DeWITTE,

willfully made and subscribed, and filed and caused to be filed with the IRS, the
following false U.S. Individual Income Tax Returns, IRS Forms 1040, which were
verified by a written declaration that they were made under penalties of perjury and
which DeWITTE did not believe to be true and correct as to every material matter.
The tax returns reported gross receipts or sales from the operation of DeWITTE’s

funeral-procession escort business, Metro State Special Services, in the amounts set

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forth below when, as DeWITTE knew, his business’s gross receipts exceeded those

amounts.
Count | Year | Approximate False Item
| Filing Date
i 2017 | April 15, 2018 Schedule C, line 1: $19,305 in gross
| receipts or sales.
7 | 2018 | April 15, 2019 Schedule C, line 1: $17,100 in gross
| | receipts or sales.

All in violation of 26 U.S.C. § 7206(1).

A TRUE BILL

Foreperson

ROGER B. HANDBERG
United States Attorney [

» bbl

DAVID ZISSERSON

Assistant Chief

Curtis Weidler

Trial Attorney

United States Department of Justice, Tax Division

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Chauncey A. Brett eae

Assistant United States Attorney
Deputy Chief, Orlando Division

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APR 199] No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

THE UNITED STATES OF AMERICA

VS.

JEREMY CHARLES DEWITTE

INDICTMENT
Violation:

26 U.S.C. § 7206(1)

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Filed in open court this 27th da arch, 2024.

Clerk

Bail $

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